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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

THE ALABAMA DEMOCRATIC                    )
CONFERENCE, an Alabama political          )
action committee, et al.,                 )
      Plaintiffs,                         )
                                          )             Civil Action No.
      v.                                  )            5:11-cv-02449-JEO
LUTHER STRANGE, in his official           )
capacity as Attorney General of           )
Alabama, et al.,                          )
                                          )
      Defendants.
                                          )


           REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
            (DOC. 7) AND OPPOSITION TO PLAINTIFFS’ MOTION
               FOR PARTIAL SUMMARY JUDGMENT (DOC. 9)


                                  INTRODUCTION

      For years, Alabama political operatives would, consistent with state law,

move campaign contributions among political action committees so as to skirt

other state-law provisions requiring disclosure of the contributions’ source. This

practice elicited a sustained chorus of fears that such PAC-to-PAC transfers could

be used to cover up corrupt deal-making, culminating in the October 2010 federal

indictment of an Alabama state senator and several gambling proponents for just

that sort of an arrangement. In response, the Alabama Legislature enacted Act No.




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2010-765, which (with a few exceptions) outlaws the “transfer of funds” among

PACs.

      In just one of the nine sections in their opposition to the State’s motion to

dismiss do the plaintiffs argue that this measure might plausibly “den[y] or

abridge[]” black citizens’ right to vote “on account of race or color” in violation of

Section 2 of the Voting Rights Act, 42 U.S.C. §1973(a). See doc. 10 at 28. And

what relative little they say there reflects a fatal lack of substance. Their “on-

account-of-race” argument, to give one example, amounts at most to a showing

that effects of past discrimination “continue today,” doc. 10 at 32, or that some

Alabama elected officials might, “to this very day,” harbor racist attitudes, doc. 10

at 35. But they do not even try to link these circumstances to the provision they

challenge as racially discriminatory. See doc. 10 at 32-36.

      It is thus apparent that the plaintiffs regard the First Amendment claim to be

their most viable one. But on that claim, the plaintiffs face another big problem:

They effectively concede that the PAC transfer ban need not withstand strict

scrutiny. To be sure, they at times try to recast the measure as more burdensome

than it really is. See, e.g., doc. 10 at 19 (likening the provision to “an edict” that a

particular candidate “may not advertise his candidacy”). But those attempts are

divorced from any discussion of the appropriate scrutiny level, and, in any event,

plainly wrong. Indeed, the plaintiffs take no position on the level-of-scrutiny



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question, which is in many cases dispositive. Although the PAC transfer ban

would survive even strict scrutiny, it easily bears the lower-level scrutiny the

plaintiffs now appear to concede is applicable. 1


                                          ARGUMENT

I.     The PAC transfer ban does not violate the First Amendment.

       The plaintiffs have failed to establish that Alabama’s ban on transferring

money among political action committees could plausibly violate the First

Amendment: They essentially have conceded that the provision need not

withstand strict scrutiny. And, whatever the level of scrutiny, they have failed to

show how the provision is not sufficiently tailored to achieve Alabama’s interests

in (1) ensuring the effectiveness of its campaign-finance disclosure rules and (2)

preventing actual and apparent corruption.


       A. The plaintiffs concede that the PAC transfer ban need not
          withstand strict scrutiny, and their backdoor attempts to portray
          the provision as more burdensome are unpersuasive.


       1
           The plaintiffs’ have set forth 39 assertedly undisputed facts, presumably in support of
their motion for summary judgment on the First Amendment claim. See doc. 10 at 2-8. Some of
these are in fact legal conclusions that do not precisely reflect the pertinent statutory language.
E.g., id. at 2-3, ¶¶ 1-4. Others are comments like “Alabama has a long history of discrimination
in voting,” id. at 6, which may bear some truth but which have only a marginal connection to the
issues in this case and are therefore overly inflammatory. Though it should go without saying,
the State assumes these facts to be true only for purposes of the pending motions; as shown in
this brief, the State should prevail on both motions as a matter of law. The State likewise does
not agree to any of the plaintiffs’ legal conclusions; the relevant statutes—and the State’s
briefing in this case—speak for themselves.

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      The PAC transfer ban does not share any traits with the campaign

regulations the Supreme Court has subjected to strict scrutiny. It does not forbid

particular messages or limit spending for political purposes. It does not limit the

amount of contributions a group may receive, penalize the exercise of First

Amendment rights, or discriminate based on viewpoint. And it does not prevent

groups from coordinating their efforts to advance a common goal (so long as

money doesn’t change hands). Accordingly, it must be upheld if it bears a

“substantial relation” to at least one of Alabama’s important interests. See doc. 7

at 10-12.

      As noted above, the plaintiffs essentially wave the white flag on this point.

Significantly, they fail to take a position on the proper standard. See id. at 17

(arguing for the provision’s invalidity “[w]hatever the proper level of scrutiny”).

They instead set out a neutral list of various possible formulations, as if to invite

the Court simply to pick one. See id. at 15 (the Supreme Court “applies several

levels of scrutiny” in this context). With one exception, the quoted standards refer

to contribution limits, which are far more burdensome than the PAC transfer ban in

that they “impose direct quantity restrictions on political communication and

association by persons, groups, candidates, and political parties.” Buckley v.

Valeo, 424 U.S. 1, 18 (1976) (per curiam).




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      The one exception in the plaintiffs’ list of possible scrutiny levels is the

standard for disclosure rules. See doc. 10 at 16. As the plaintiffs note, this

standard has been described as “exacting.” But by requiring merely a “substantial

relation” between a challenged provision and a “sufficiently important

governmental interest,” this standard exemplifies the “lower level of scrutiny” the

Supreme Court has used to uphold a variety of campaign restrictions the Court has

found to be “less onerous.” Arizona Free Enterprise Club’s Freedom Club PAC v.

Bennett, 131 S. Ct. 2806, 2817 (2011). Indeed, this is precisely the standard that

should be used to evaluate the PAC transfer ban.

      Though failing to address the scrutiny-level issue head-on, the plaintiffs

nevertheless resort to a number of backdoor tactics to portray the PAC transfer ban

as more burdensome than it really is. As indicated, the most common of these is to

equate the PAC transfer ban with contribution limits. See doc. 10 at 16 (citing

Russell v. Burris, 146 F.3d 563, 571 (8th Cir. 1998) and McConnell v. FEC, 540

U.S. 93 (2003)); id. at 19 (summarizing the PAC transfer ban as saying “Don’t take

(or make) a contribution”); id. at 24-25 (citing Citizens Against Rent Control v.

City of Berkeley, 454 U.S. 290 (1981)). But for whatever force this attempt may

have as a matter of state law (which defines “contributions” broadly), it gets them

no traction under the First Amendment. That is because the contribution limits in

the cases they cite all involve express limits on the amount of money a person or



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group may make available for political expression. As described elsewhere, e.g.

doc. 7 at 3-4, 11, that simply is not the case here.

      The plaintiffs’ attempts to exaggerate the PAC transfer measure’s effect

ultimately reach comic heights. They compare it to unconstitutional limits on

“independent expenditures” (i.e., restrictions on how much a person or group may

spend on political expression). See doc. 17 (citing Citizens United v. FEC, 130 S.

Ct. 876, 908-09 (2010)). They even compare the PAC transfer ban to an to “an

edict” that a particular candidate “may not advertise his candidacy.” Doc. 17 at 19.

These hysterics do not merit a response. In the end, the PAC transfer ban plainly

qualifies for the lower-level scrutiny appropriate for a campaign-finance regulation

imposing such a modest burden on protected activities.


      B.   Nothing the plaintiffs have said undermines the PAC transfer ban’s
           justification as an anti-corruption measure.

      Insofar as candidates were the intended recipients of the money involved in

PAC-to-PAC transfers, the challenged provision shuts down one avenue for

concealing the transactions necessary to effectuate a bribe. Or, in the very least, it

will allay the justified concerns that PAC-to-PAC transfers were a means of

covering up corrupt deals of this sort. See id. at 4-5, 16-18; see also docs. 7-4 & 7-

5. Although the measure may also be upheld as a transparency measure, see infra

Section I.C, it makes sense here first to assess the measure’s value as an



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anticorruption device because that is the subject of the plaintiffs’ central objection

to it. See doc. 10 at 1, 2, 9, 11, 13, 14, 15, 17, 18, 19.

      The plaintiffs do not question the compelling importance of Alabama’s

interest in fighting corruption (be it actual or perceived), and they do not seriously

dispute that the PAC transfer ban serves that interest. The one point they make on

this front is to question the State’s use of a federal indictment bringing corruption

charges against state officials and various proponents of less stringent state

gambling laws. See doc. 10 at 10. But the presumption of innocence in that

criminal case in no way undermines the indictment’s evidentiary value in this

unrelated civil case. And the indictment’s purpose in any event is to confirm the

strong appearance of corruption, regardless of whether the defendants in that case

are found guilty. When the United States government indicts a sitting state senator

in part on the basis of her instructions to a lobbyist to conceal a bribe by “running

it through various PACs,” doc. 7-2, ¶147, the existence of that perception cannot

“reasonably be questioned.” FED. R. EVID. 201(b). (The States’ proffered news

articles similarly establish points that are beyond reasonable question.)

      Instead, the plaintiffs’ main argument is that the PAC transfer ban cannot

constitutionally be applied to the Alabama Democratic Conference on an

anticorruption rationale. They note that the ADC exists primarily to run “political

education and advocacy” programs. Doc. 10 at 9; see also id. at 10-12. And they



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argue that because the Supreme Court has limited governments’ anticorruption

interest to preventing actual or apparent quid-pro-quo arrangements with

candidates for public office, Alabama may not constitutionally restrict PAC-to-

PAC transfers whose purpose is to fund the ADC’s core First-Amendment

activities. E.g., doc. 10 at 2, 9, 13-15. In other words, they argue that the PAC

transfer ban is insufficiently tailored to achieve its stated purpose.

      Given the lower-level scrutiny applicable here, see supra Section I.A, the

first problem with the plaintiffs’ argument is that the ADC is so rare in its alleged

use of PAC-to-PAC transfers. As demonstrated by the news articles submitted in

support of the State’s motion to dismiss, see docs. 7-4 & 7-5, any casual observer

of Alabama politics would know that PAC-to-PAC transfers are used almost

exclusively to channel money to candidates. Indeed, the plaintiffs even admit that

the PAC transfer ban would, as a general matter, affect core First Amendment

activities to only a “limited extent.” Doc. 10 at 8. What this means under the

appropriate, lower-level scrutiny is that the measure easily bears a “substantial

relation” to Alabama’s compelling anticorruption interest.

      As it turns out, though, the ADC is not so rare in its actual use of PAC-to-

PAC transfers. As the plaintiffs repeatedly admit, the ADC has made candidate

contributions in the past and has no plans to forsake the practice going forward.

See doc. 10 at 11, 12, 13, 14-15. In other words, the one PAC claimed to be



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unique is not in fact unique. In the absence of a PAC whose purpose does not

include giving contributions to candidates, the PAC transfer ban will withstand

even strict scrutiny. There is literally no alternative to the PAC transfer ban that

would constitute a “less restrictive” means of preventing the corruption or

appearance thereof made possible by PAC-to-PAC transfers.2


       C. Nothing the plaintiffs have said undermines the PAC transfer ban’s
          justification as promoting transparency and preventing
          circumvention of disclosure rules.

       By eliminating political operators’ endless opportunities to launder

contributions through multiple PACs, the PAC transfer ban’s primary effect is to

make it easier for citizens to trace contributions from a donor to his or her intended

recipient. See doc. 7 at 4, 13-16.

       Here, too, the plaintiffs do not validly question the importance of the State’s

interest in promoting transparency—i.e., “provid[ing] the electorate with

information” about the sources of campaign funds, Buckley, 424 U.S. at 66, and

helping citizens “‘make informed choices in the political marketplace.’” Citizens

United, 130 S. Ct. at 914 (citation omitted). Nor do they show that the PAC-to-




       2
          ADC’s proposed segregation of funds (see doc. 10 at 14-15) is beside the point. Such a
proposal might be relevant if the issue was how to remedy a constitutional violation if one exists.
But it sheds no light on the only question currently before the Court, which is whether the PAC
transfer ban violates ADC’s First Amendment rights at all.

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PAC transfer ban will insufficiently further that interest. Each of their attempts to

do so comes up woefully short.

      For their lead-off argument, the plaintiffs posit our observation that PACs

remain free to coordinate with one another as a “roadmap for evading disclosure

under the new law.” Doc. 10 at 21. They further say that this “roadmap” reflects a

“casual attitude” by “its lawyers” showing that transparency is not a “compelling,

or even very important” reason for the provision. Id. The plaintiffs do not explain

how coordination between PACs (without money changing hands) evades

disclosure rules, and we frankly do not understand their point here. But even if

such coordination did work at cross-purposes to the State’s transparency goals,

“[t]he First Amendment does not require the government to curtail as much speech

as may conceivably serve [those] goals.” Blount v. SEC, 61 F.3d 938, 946 (D.C.

Cir. 1995). (In any event, the issue is the importance, as a matter of law, of the

State’s interest, not the State’s lawyers’ purported “attitude” about anything.)

      The plaintiffs also suggest that “many” of the cases the State cited to justify

the sufficiency of its interest are inapplicable because they involved circumvention

of contribution limits, not disclosure rules. Doc. 10 at 21. “Many,” of course, does

not mean all, and Mariani v. United States, 212 F.2d 761, 775 (3rd Cir. 2000),

which the plaintiffs never mention, upheld a federal ban on making contributions

“in the name of another” precisely because it discouraged circumvention of



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disclosure requirements. More critically, the plaintiffs simply mischaracterize the

State’s argument. The State cited the anti-circumvention cases only for the

proposition that preventing circumvention of a valid requirement (whatever its

substance) is itself a valid interest. See doc. 7 at 13-14. Here, the plaintiffs do not

question the validity of Alabama’s disclosure requirements, so it makes no

difference that the PAC transfer ban cannot further a “non-existent contribution

limit.” Doc. 10 at 21.

      Next, the plaintiffs cite Citizens Against Rent Control for its holding that a

limit on contributions to a ballot-measure campaign did not serve a significant

interest in transparency because a disclosure rule was effectively serving that

interest. See doc. 10 at 24-25. This holding is inapplicable on its face. For

reasons already discussed, see supra Section I.A, the PAC transfer ban cannot

legitimately be compared to a true contribution limit as was at issue in Citizens

Against Rent Control. Moreover, in Citizens Against Rent Control, the Court

expressly based its decision on “the record in [that] case,” which failed to support

the conclusion that the contribution limit was “needed to preserve voters’

confidence in the [campaign] process.” 454 U.S. at 299. The record in this case,

on the other hand, shows just the opposite.

      Finally, as predicted, see doc. 7 at 20, the plaintiffs make a big to-do about

the potential for disclosure rules to displace transparency as a justification for the



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PAC transfer ban. See doc. 10 at 8-9, 20, 22-24. On one hand, they seem to argue

that even the old disclosure rules were all that was necessary to achieve the State’s

interests in transparency. See id. at 8-9, 22, 23-24. On the other hand, they seem

to say that even the new ban on PAC-to-PAC transfers will not result in perfect

disclosure. See id. at 22-23. On still another hand, they argue that achieving “full

transparency” is just a matter of more frequent campaign reports and the better use

of technology. Id. at 20; see also id. at 24. Logical inconsistencies aside, not

much more needs to be said here. See doc. 7 at 20-21. All that matters is that the

provision bear a “substantial relation” to the goal of giving voters more

information about the source of campaign contributions. Alabama’s PAC transfer

ban fits that description easily in light of the mountain of evidence documenting

the system’s deficiencies under the old law. See docs. 7-4 & 7-5. It therefore

presents no First Amendment violation.


II.   The PAC transfer ban does not violate Section 2 of the Voting
      Rights Act.

      To violate Section 2 of the Voting Rights Act, a state law must: (1)

constitute a “voting . . . standard, practice, or procedure,” (2) result “in a denial or

abridgement of the right . . . to vote,” and (3) bring about such a denial or

abridgement “on account of race or color.” 42 U.S.C. §1973(a). As stated at the

outset, the plaintiffs’ “on-account-of-race” argument consists only of a showing



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that socioeconomic gaps persist along racial lines and that some Alabama elected

officials may harbor racist attitudes. The plaintiffs have not alleged, or even

argued, that the PAC transfer ban was motivated by racial animus or that it will

interact with latent racial bias so as to dilute black citizens’ voting rights.

Accordingly, the State’s motion to dismiss the Section 2 claim may be granted on

this basis alone. See Johnson v. Governor of Florida, 405 F.3d 1214, 1235-39

(11th Cir. 2005) (en banc) (Tjoflat and Pryor, JJ., concurring); Nipper v. Smith, 39

F.3d 1494, 1509-10 (11th Cir. 1994) (en banc) (opinion of Tjoflat, C.J., joined by

Anderson, J.).

      A quick word on the other two elements of a Section 2 claim is also in order.


      A. The PAC transfer ban is not a voting “standard, practice, or
         procedure” within the meaning of Section 2.

      The plaintiffs have not established the PAC transfer ban to be a voting

“standard, practice, or procedure” under Section 2. The plaintiffs attempt to

distinguish Pressley v. Etowah County Commission, 502 U.S. 491 (1992), which

held that a provision diminishing an elected official’s power is beyond Section 2’s

reach. But it was not merely the fact that such a change would occur “after the

election is over,” doc. 10 at 29, that drove the Court’s decision there. It was rather

that such a change hand no “direct relation to voting and the election process.”

502 U.S. at 503 (emphasis added). Here, a central premise of the plaintiffs’ First



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Amendment argument is that the transfer ban applies to so many of the ADC’s

assorted activities, including, for example, sponsoring candidate forums. See doc.

10 at 5, ¶17. Under the plaintiffs’ logic, the decision of a public university or city-

run community center to restrict ADC-sponsored candidate forums to certain times

or locations would be a decision the ADC could challenge in federal court under

the Voting Rights Act. That surely is not the law.

      The plaintiffs’ citation to three, old DOJ objections to other States’ election

practices likewise does nothing to make the PAC transfer ban look more like a

voting practice. Each of those objections involved a change in the location of

polling places or the elimination of polling places. Thus, unlike the PAC transfer

ban, these changes fit comfortably in the recognized category of “changes

involv[ing] the manner of voting.” Id. at 502. By arguing that the PAC transfer

ban falls within Section 2, the plaintiffs are asking the Court to give the phrase

“voting” “standard, practice or procedure” a meaning the statutory text simply

cannot bear.


      B.   The plaintiffs have not established that the PAC transfer ban might
           plausibly abridge black citizens’ right to vote.

      Finally, as to Section 2’s second element, the plaintiffs assert that that the

PAC transfer provision will prevent equal minority political participation by

interfering “with the right of the ADC to associate with other organizations to fund



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voter education, voter protection, and voter-facilitation activities.” Doc. 10 at 34.

This prediction is not plausible as a matter of law, but even if it was, it would not

impinge on “the right of any citizen . . . to vote,” 42 U.S.C. §1973(a), and it would

result in no reduced “opportunity . . . to participate in the political process” as

compared to “other members of the electorate,” id. §1973(b).

      First, the PAC transfer ban does not prevent ADC from associating with

other organizations. It only prevents shifting money from one PAC to another so

voters will know who is funding political speech. Even with the measure in place,

any person who wants to donate money to ADC may do so in unlimited amounts.

Moreover, if ADC desires, it may spend every dime of that money on get-out-the-

vote programs.

      Second, the provision does not prevent ADC’s historic partners such as the

AEA and the Alabama Democratic Party from continuing to support ADC’s get-

out-the-vote programs. Certainly, the text of the provision does not prevent them

from doing so. On this point, the plaintiffs point only to another statute, a recently

enacted ban on the use of state property to facilitate state employees’ dues

payments to such organizations. See doc. 10 at 38. As the State previously has

argued, Section 2 is concerned with obstacles to electoral participation, not a

group’s affirmative encouragement of such participation. See doc. 7 at 31.




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Refusing to subsidize one group that might assist another group’s efforts to

encourage political participation is therefore doubly irrelevant.


                                    CONCLUSION

      A State violates neither the First Amendment nor the Voting Rights Act

when, after years of public confusion and justified concerns about corruption, it

enacts a measure prohibiting the potentially endless transfer of political

contributions among PAC bank accounts. Accordingly, the State’s motion to

dismiss (doc. 7) is due to be granted and the plaintiffs’ motion for partial summary

judgment (doc. 9) is due to be denied.

                                         Respectfully submitted,

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                       CERTIFICATE OF SERVICE

        I certify that on August 23, 2011, I electronically filed the foregoing
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